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5
6    Attorney for Defendant
     JOSEPH D. RYAN
7
8                               IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                 )   Case No. 2:15-cr-00116-GEB
11                                              )
                       Plaintiff,               )   STIPULATION AND [PROPOSED] ORDER
12                                              )   TO CONTINUE SENTENCING HEARING &
               vs.                              )   BRIEFING SCHEDULE
13                                              )
      JOSEPH D. RYAN,                           )   Date: June 3, 2016
14                                              )   Time: 9:00 a.m.
                       Defendant.               )   Judge: Hon. Garland E. Burrell
15                                              )
                                                )
16
17           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
18   Attorney, through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff,

19   and Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren,

20   attorney for Joseph Ryan that the sentencing hearing, currently scheduled for June 3, 2016, be

21   continued to June 17, 2016 at 9:00 a.m. The parties further stipulate that the briefing schedule

22   be modified as follows:

23           Motion for Correction of the Presentence Report shall      6/3/16
             be filed with the Court and served on the Probation
24           Officer and opposing counsel no later than:
25
             Reply, or Statement of Non-Opposition:                     6/10/16
26
             Judgment and Sentencing Date:                              6/17/16
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28
     Stipulation to Continue                         -1-                             U.S. v Ryan, 15-cr-116
       Case 2:15-cr-00116-KJM Document 106 Filed 05/24/16 Page 2 of 3



1    This continuance is made at defense counsel’s request, to obtain additional mitigation evidence
2    in preparation of the Motion for Correction of the Presentence Report and sentencing hearing.

3    Probation is aware of this stipulation and has no objection.

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6                                                  Respectfully submitted,
     Dated: May 20, 2016                           HEATHER E. WILLIAMS
7                                                  Federal Defender

8                                                  /s/ Noa E. Oren
                                                   NOA E. OREN
9                                                  Assistant Federal Defender
                                                   Attorneys for Joseph D. Ryan
10
     Dated: May 20, 2016
11                                                 PHILLIP A. TALBERT
                                                   Acting United States Attorney
12
                                                   /s/ Michelle Rodriguez
13                                                 MICHELLE RODRIGUEZ
                                                   Assistant U.S. Attorney
14                                                 Attorneys for Plaintiff

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     Stipulation to Continue                         -2-                           U.S. v Ryan, 15-cr-116
       Case 2:15-cr-00116-KJM Document 106 Filed 05/24/16 Page 3 of 3



1                                                  ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order. The Court orders the June 3, 2016 sentencing hearing continued to June 17, 2016 at
5    9:00 a.m. It is further ordered that any formal objections and sentencing memoranda are now due
6    on June 3, 2016 and any replies are now due on June 10, 2016.
7    Dated: May 24, 2016
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     Stipulation to Continue                          -3-                              U.S. v Ryan, 15-cr-116
